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IN THE UNITED sTATEs DISTRICT cOURT <'

FOR THE.wEsTERN DISTRICT oF TENNESSEE 05 AU[; 31 ph 3,
wEsTERN DIvIsIoN '57

 

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JEssE BALL, .… ,
Plaintiff,

vs. cv. No. 05-2045-Ma/v/

Cr. NO. 95~007(SNL)
E.D. Missouri
T.C. OU'I'LAW,

Defendant.

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ORDER GRAN'I'ING MOTION 'I'O PROCEED m FORMA PAUPERIS
ORDER DENYING PETITION UNDER 28 U.S.C. § 2241
ORDER DENYING ALL OTHER PENDING MOTIONS AS MOOT
AND
ORDER CER'I'IFYING APPEAL NOT TAKEN IN GOOD FAITH

 

 

 

Defendant, Jesse Ball, Bureau of Prisons (BOP) registration
number 24103-044, an inmate at the Federal Prison Camp (FPC) in
Millington, filed a petition for a writ of habeas corpus pursuant
to 28 U.S.C. § 2241, along with a nmtion to proceed in fg;m§
pauperis. The motion to proceed in ;g;ma pauperis is GRANTED. The
Clerk shall record the respondent as T.C. Outlaw. The Clerk shall
not issue any process.

Ball was charged in a six-count indictment in the Eastern

District of Missouri with drug trafficking and firearms crime. On

June 21, 1995, a jury convicted him of all six counts. He was
sentenced to 481 months imprisonment. Ball appealed his
convictions on Counts 2, 5, and 6. Counts 2 and 6 charged Ball

with carrying' or using' a firearm in relation to charged. drug

trafficking crimes. Count 5 charged Ball with possession of crack

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cocaine with intent to distribute. Ball contended, as to his
conviction on Count 5, that the district court erred by denying his
motions to suppress evidence seized during the warrantless entry
into his house and to suppress statements made to police officers.
The Eighth Circuit Court of Appeals determined that the district
court’s decision to deny the motions to suppress was proper and
affirmed his judgment of conviction on Count 5. The Eight Circuit
then determined that the evidence at trial was not sufficient,
under Bailev v. United States, 516 U.S. 137 (1995), to support the
firearms convictions on two counts. The Eighth Circuit reversed
those convictions and remanded the case for resentencing. United
States v. Ball, 90 F.3d 260 (Sth Cir. July 17, 1996).

On resentencing, the district court sentenced Ball to 170
months imprisonment and 4 years of supervised release, imposing a
2-level enhancement for possession of a firearm, see United States
Sentencing Guidelines (USSG) Manual § 2D1.1(b)(1)(1995), and a 2-
level enhancement for obstruction of justice, gee USSG Manual §
3C1.1 (1995). Ball challenged the application of the enhancements
on appeal. The Eighth Circuit determined that the enhancements
were properly applied. United States v. Ball, 1997 WL 597098 (Bth
Cir. 1997), cert. denied, No. 97-7699, 522 U.S. 1152 (Mar. 2,
1998) .

Ball then filed a motion to vacate under 28 U.S.C. § 2255,
which was denied. United States v. Ball, No. 99-624 (E.D. Mo. Aug.
24, 1999). Ball filed a successive motion to vacate in the Eastern

District of Missouri, which was transferred to the Eighth Circuit,

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where permission to file a successive motion was denied. Ball v.
United States, No. 01-1123 (8th Cir. Feb. 15, 2001). On June 15,
2004, Ball filed a petition for permission to file a successive
motion to vacate with the Eighth Circuit Court of Appeal, which was
also denied. Ball v. United States, No. 02-2430 (Bth Cir. Oct. 28,
2004) .

On January 19, 2005, Ball filed this habeas petition under 28
U.S.C. § 2241. Ball seeks to raise claims cognizable only under §
2255. The Antiterrorism and Effective Death Penalty Act of 1996,
Pub. L. NO. 104-132, 110 Stat. 1214 (Apr. 24, 1996) (COdified, in£r_

alia, at 28 U.S.C. § 2244 et seq.)(AEDPA), amended 28 U.S.C. §§

 

2244(b) and 2255 to limit a defendant to his direct appeal and one
collateral attack, filed within one year of the time conviction is
final. This provision strengthened the existing provisions
limiting federal prisoners to one collateral attack on a
conviction. These reforms were intended to protect further the
finality attached to federal criminal judgments and to reduce the
workloads of the federal courts.

Because a subsequent § 2255 motion is foreclosed by the AEDPA,
the petitioner seeks to characterize this case as a habeas petition
under 2241. The only reason for that characterization, however, is
the need to avoid the successive motion limits enacted by the
AEDPA. This case clearly seeks to attack the validity of
petitioner's original sentence and thus is a motion under § 2255.
A series of unpublished opinions has relied on GraV-Bev v. United

States, 209 F.Bd 986, 990 (7th Cir. 2000), to conclude that § 2255

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motions that are disguised. as § 2241 petitions should. not be
transferred, but dismissed.l

Generally, habeas corpus is available if "the issues raised
more accurately challenged the execution of the sentence than its
imposition." Wriqht v. United States Bd. of Parole, 557 F.2d 64,
78 (6th Cir. 1977). On the other hand, "[s]ection 2255 . . . has
been conceived to be limited to those claims which arise from the
imposition of the sentence as distinguished from claims attacking
the execution of the sentence." ld; at 77. Cf. United States v.
Jalili, 925 F.2d 889, 893 (6th Cir. 1991)("Because defendant Jalili
is challenging the manner in which the sentence is executed, rather
than the validity of the sentence itself, Section 2255 does not
apply."). It is clear from Wright and Jalili, however, that true
attacks on the "execution" of a sentence relate to BOP decisions
affecting the duration. of the sentence and that such. attacks
accept, as a matter of course, the validity of the original
underlying conviction and sentence. Ball’s petition does not
challenge the execution of his sentence, but attacks its
imposition.

Federal prisoners seeking collateral relief from a conviction
or sentence must seek relief through a motion to vacate under 28
U.S.C. § 2255. Charles v. Chandler, 180 F.3d 753, 755-56 (1999);
In re Hanserd, 123 F.3d 922, 933 (6th Cir. 1997); United v. Sarduy,

838 F.2d 157, 158 (6th Cir. 1988)(challenge to proper sentence

 

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4, 2000).

Seel e.g., In Re Walker, No. 00-5262, 2000 WL 1517155 (6th Cir. Aug.

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calculation should be brought under § 2255, not Rules 32 or 35).
See also United States v. Cerna, 1994 U.S. App. LEXIS 27901 at *2-3
(6th Cir. Oct. 4, 1994)(district court has discretion to construe
motion erroneously styled as one under § 3582(€)(2) as a motion to
vacate under § 2255),~2 United States v. Auman, 8 F.3d 1268, 1271
(Sth Cir. 1993); Wood v. United States, No. 91-2055, 1992 U.S. App.
Lexis 3053 (6th Cir. Feb. 25, 1992)(petition for a writ of error
coram nobis should be construed as motion under § 2255);3 Owens v.
Benson, 439 F. Supp. 943, 944 (E.D. Mich. 1977)(the proper remedy
for a federal prisoner attacking his conviction or sentence is a
motion under § 2255). Q§p Capaldi v. Pontesso, 135 F.3d 1122, 1124
(6th Cir. 1998)(adopting pep §§ rule that district court may not
consider a § 2255 motion while prisoner's direct appeal is pending
and affirming denial of habeas relief to prisoner whose direct
appeal was pending in Fifth Circuit).

Habeas corpus will lie, however, if it "appears that the
remedy by motion is inadequate or ineffective to test the legality
of his detention." 28 U.S.C. § 2255. This “savings clause"
operates as an additional exception to the successive motion limits
of the AEDPA and permits review by a habeas petition in an even

more narrow CategOrY Of CaSeS.

 

2 Although citation to unpublished Sixth Circuit precedents is

disfavored, this case is referred to in the absence of clear published case law
from this circuit "because it establishes the law governing the present action
and 'there is no [Sixth Circuit] published opinion that would serve as well.'"
Norton v. Parke, 892 F.2d 476, 479 n.7 (6th Cir. 1989).

3 See supra note 2.

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The movant has the burden of demonstrating that the savings
clause applies. Charles, 180 F.3d at 756. The § 2255 remedy is
not inadequate or ineffective, for example, merely because the
successive motion limits apply to bar consideration of a claim or
the motion is barred by the statute of limitations. Charles, 180
F.3d at 756-58. Rather, if the claim is of a type that was
cognizable under § 2255, the remedy is not inadequate or
ineffective, regardless of whether the movant can obtain a
substantive review on the merits in the present motion. As
suggested by Gray-Bey, 209 F.3d at 990, in considering the scope of
collateral remedies remaining to federal prisoners after the AEDPA,
"§ 2255 j 8 means . . . that prisoners today are never entitled to
multiple collateral attacks, so that their inability to obtain
another round of litigation cannot demonstrate that § 2255 as a
whole is ‘inadequate or ineffective to test the legality of
detention.’"

Federal law providing for collateral review of conviction and
sentence does not guarantee that every prisoner will obtain a
review on the merits of a constitutional claim, but that every
prisoner will at some point have the opportunity for such review.
Seel e.g., WOffOrd V. SCOtt, 177 F.3d 1236, 1244 (11th Cir. 1999).
According to Wofford, the entire federal criminal procedure
statutory scheme, encompassing trial, direct appeal, and one
opportunity for collateral review, ensures that "a petitioner will
have had 'an unobstructed procedural shot at getting his sentence

vacated.' That does not mean that he took the shot . . . the

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Constitution requires [only] that the procedural opportunity
existed." Id. (quoting fn Re Daven ort, 147 F.3d 605, 609 (7th
Cir. 1998)).

Wofford held that the “inadequate or ineffective“ savings
clause applies to permit a prisoner to set aside a conviction when
1) the claim is based upon a retroactively applicable
Supreme Court decision; 2) the holding of that Supreme
Court decision establishes the petitioner was convicted
for a nonexistent offense; and, 3) circuit law squarely
foreclosed such a claim at the time it otherwise should
have been raised in the petitioner's trial, appeal, or

first § 2255 motion.
WOffOrd, 177 F.Bd at 1244.

Ball attacks his sentence alleging that he is entitled to
relief under United States v. Booker, 125 S. Ct. 758 (2005) and
Crawford v. Washington, 541 U.S. 36 (2004). Although Coffman can

make aa prima facie showing that Booker and Crawford were not

 

available to him during the applicable one~year limitations period
for a motion to vacate and present new constitutional rules of
criminal procedure, he cannot demonstrate that Booker or Crawford
has been “made retroactively applicable to cases on collateral
review.” 28 U.S.C. § 2255. New rules of constitutional criminal
procedure are generally not applied to cases on collateral review.
Teague v. Lane, 489 U.S. 288 (1989).

The Sixth Circuit held in Dorchy v. Jones, 398 F.3d 783, 788
(6th Cir. Feb. 23, 2005), that Crawford does not apply
retroactivelyx Likewise, the Sixth Circuit determined in Humphress
v. United States, 398 F.3d 855 (Feb. 25, 2005), that the rule of

Booker does not fall within the second exception of Teague. Id. at

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863(noting that the Supreme Court has never held that a new rule of
criminal procedure falls with the second exception of Teague).
Thus, the Sixth Circuit concluded that the rule of Booker does not
apply retroactively in collateral proceedings. Humphress, 398 F.3d
at 860. Crawford and Booker do not provide Ball with any basis for
relief.

Ball contends his “new theory support[s] a non-frivolous claim
cf actual innocence.” It is clear that an actual innocence claim
requires "factual innocence, not mere legal insufficiency."
Bousley v. United States, 523 U.S. 614, 623-24 (1998); Hilliard v.
United States, 157 F.3d 444, 450 (6th Cir. 1998). The movant must

show that "a constitutional violation has probably resulted in the

conviction of one who is actually innocent of the crime." Murray
v. Carrier, 477 U.S. 478, 496 (1986). Accordingly, Ball is not

entitled to relief under § 2241 on his claim.

Because Ball is not entitled to invoke § 2241, "it appears
from the application that the applicant or person detained is not
entitled" to any relief. 28 U.S.C. § 2243. An order for the
respondent to show cause need not issue. The petition is DENIED
and DISMISSED. Ball also filed motions for bail, to show cause and
for appointment of counsel. The motions are rendered MOOT by this
determination and are DENIED.

Appeals of habeas petitions under 28 U.S.C. § 2254 and motions
under 28 U.S.C. § 2255 are governed by 28 U.S.C. § 2253 and require

the district court to consider whether to issue a certificate of

appealability. Lyons v. Ohio Adult Parole Auth., 105 F.3d 1063

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(6th Cir. 1997). Section 2253 does not apply to habeas petitions
by federal prisoners under § 2241. McIntosh v. United States
Parole Comm'n, 115 F.3d 809, 810 (10th Cir. 1997); Ojo v. I.N.S.,
106 F.3d 680, 681-82 (5th Cir. 1997); Bradshaw v. Story, 86 F.3d
164, 166 (10th Cir. 1996). Nevertheless, a habeas petitioner
seeking to appeal is obligated to pay the $255 filing fee required
by 28 U.S.C. §§ 1913 and 1917. Under the Prison Litigation Reform
Act of 1995 (PLRA), 28 U.S.C. § 1915, it is unclear how habeas
petitioners establish a right to proceed ip fp;ma pauperis and
avoid this filing fee.

Although the Sixth Circuit has concluded that the various
filing fee payment requirements and good faith certifications of

amended § 1915 do not apply to § 2254 cases, it has not resolved

whether these requirements apply tx) § 2241 cases. Kincade v.
Sparkman, 117 F.3d 949, 951-52 (6th Cir. 1997). Cf. McGore v.

Wrigglesworth, 114 F.3d 601 (6th Cir. 1997)(instructing courts
regarding proper PLRA procedures in prisoner civil-rights cases,
without mentioning § 2241 petitions).

The Tenth Circuit, however, has held that the provisions of
the PLRA do not apply to habeas cases of any sort or to § 2255
motions. §pg Mclntosh, 115 F.3d at 810; United States v. Simmonds,
111 F.3d 737, 743 (10th Cir. 1997). An unpublished Sixth Circuit
opinion has adopted this approach in affirming a decision from this
district. Graham v. U.S. Parole Com'n, No. 96-6725, 1997 WL 778515
(6th Cir. Dec. 8, 1997), ajf;g, Graham v. United States, No. 96-

3251-Tu (W.D. Tenn. Dec. 4, 1996). Because the Court finds the

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reasoning of Mpippp§p persuasive, and because the Court finds that
this conclusion naturally follows from the Sixth Circuit's decision
in Kincade, the Court concludes that the PLRA does not apply to
§ 2241 petitions.

Pursuant to Kincade, a petitioner must seek leave to proceed
ip forma pauperis from the district court under Fed. R. App. 24(a),
which provides:

A party to an action in a district court who desires to

proceed on appeal ip forma pauperis shall file in the

district court a motion for leave to so proceed, together

with an affidavit, showing, in the detail prescribed by

Form 4 of the Appendix of Forms, the party's inability to

pay fees and costs or to give security therefor, the

party's belief that that party is entitled to redress,

and a statement of the issues which that party intends to

present on appeal.
The Rule further requires the district court to certify in writing
whether the appeal is taken in good faith, and to deny the
certificate if the appeal would be frivolous.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. Id. It would be

inconsistent for a district court to determine that a complaint

does not warrant service on the respondent, yet has sufficient

 

merit to support an appeal ip forma pauperis. ee Williams v.
Kullman, 722 F.2d 1048, 1050 n.1 (2d Cir. 1983). The same

considerations that lead the Court to dismiss this petition also
compel the conclusion that an appeal would not be taken in good

faith. It is therefore CERTIFIED, pursuant to F.R.A.P. 24(a), that

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any appeal in this matter by petitioner is not taken in good faith,

and he may not proceed on appeal ip forma pauperis.

 

IT Is so 0RDERED this 3°Yl\day of August 2005.

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SAMUEL H. MAYS,
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 8 in
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J esse Ball
FPC-i\/[[LLINGTON
24103-044

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Honorable Samuel Mays
US DISTRICT COURT

